
dismis.re                                                           



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-05-398-CV





IN THE INTEREST OF J.M.H.H. 

AND N.J.R.H., CHILDREN



----------

FROM THE 322ND DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court's opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f). &nbsp;

Appellant shall pay all costs of this appeal, for which let execution issue. &nbsp;
See
 
Tex. R. App. P
. 42.1(d).



PER CURIAM	



PANEL D: CAYCE, C.J.; LIVINGSTON and DAUPHINOT, JJ.



DELIVERED: January 5, 2006

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




